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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   )
    v.                             )     CRIMINAL ACTION NO.
                                   )       2:11cr191-MHT
JEFFERY NOLAN BENNETT              )             (WO)

                                ORDER

    Upon consideration of the opinion of the United

States Court of Appeals for the Eleventh Circuit entered

on May 1, 2013 (doc. no. 512), affirming the judgment of

conviction and sentence pronounced in this case as to

defendant Jeffery Nolan Bennett on October 23, 2012, and

entered on October 29, 2012 (doc. no. 461), and the

mandate of the United States Court of Appeals for the

Eleventh Circuit issued on June 4, 2013, and received in

the office of the clerk of this court on June 4, 2013

(doc. no. 513), it is the ORDER, JUDGMENT, and DECREE of

the court that the judgment of conviction and sentence

pronounced    upon    defendant        Jeffery   Nolan    Bennett       on
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October 23, 2012, and entered on October 29, 2012 (doc.

no. 461), is continued in full force and effect.

    DONE, this the 6th day of June, 2013.



                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
